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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                       for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                                 )
                             v.                                            )
                                                                           )         Case No.
                                                                           )
                     MATHEW CAPSEL                                         )
                      DOB    /1993                                         )
                                                                           )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 6, 2021                        in the county of                                                        in the
                       District of          Columbia                 , the defendant(s) violated:

            Code Section                                                                Offense Description
                                               Knowingly entering or remaining in any restricted building or grounds without lawful authority; and knowingly
18 U.S.C. 1752 (a)(1) and (4);                 engages in any act of physical violence against any person or property in any restricted building or grounds; or
                                               attempts or conspires to do so.

                                               Forcibly assaulted resisted, opposed, impeded, intimidated, or interfered with any any officer or employee of the
18 U.S.C. § 111;                               United States or of any agency in any branch of the United States Government (including any member of the
                                               uniformed services) while engaged in or on account of the performance of official duties
18 U.S.C. § 231(a)(3)                          Commited or attempted to commit any act to obstruct, impede, or interfere with law enforcement officer lawfully
                                               engaged in the lawful performance of his official duties incident to and during the commission of a civil disorder
                                               which in any way or degree obstructs, delays, or adversely affects commerce or the movement of any article or
                                               commodity in commerce or the conduct or performance of any federally protected function.

         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
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                                                                                                               Complainant’s signature

                                                                                                 Madison Ramsden, Special Agent, FBI
                                                                                                                Printed name and title

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                                                                                                                              2021.01.19
Date:             01/19/2021                                                                                                  17:43:49 -05'00'
                                                                                                                       Judge’s signature

City and state:                         Washington, DC                                         Robin M. Meriweather, US Magistrate Judge
                                                                                                                Printed name and title
